Case 21-90062-CL               Filed 07/29/21           Entered 07/29/21 15:15:49                     Doc 2   Pg. 1 of 2



CSD 2500A (12/15)
                                                  U.S. Bankruptcy Court
                                               Southern District of California
In re:
                                                                Bankruptcy Case No.19−04688−CL7
INTEGRATEDMARKETING.COM
                                                    Debtor
                                                                Adversary Proceeding No.21−90062−CL
RONALD E. STADTMUELLER
                                                    Plaintiff
v.
PRAIRIE CAPITAL ADVISORS, INC.
                                                    Defendant



                                            SUMMONS IN AN ADVERSARY PROCEEDING


YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons with the clerk
of the bankruptcy court within 30 days after the date of issuance of this summons, except that the United States and its offices and
agencies shall file a motion or answer to the complaint within 35 days.


Address of Clerk
                    Clerk, U.S. Bankruptcy Court
                    Southern District of California
                    325 West F Street
                     San Diego, California 92101
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.



Name and Address of Plaintiff's Attorney
                Gary B. Rudolph
                600 B Street, Suite 1700
                San Diego, CA 92101
If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
DEMANDED IN THE COMPLAINT.




              Date Issued:


            07/29/2021


                                                                             Michael Williams, Clerk Of Court




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                                                  PROOF OF SERVICE
          I,                                              , certify that I am, and at all times during the service of process was, not
less than 18 years of age and not a party to the matter concerning which service of process was made.

I further certify that the service of this summons and a copy of the complaint was made                                              by:
                                                                                                                     [date]

[     ]     Mail Service: Regular, first class United States mail, postage fully pre-paid, addressed to:




[     ]     Personal Service: By leaving the documents with the following defendants or an officer or agent of the defendant at:




[     ]     Residence Service: By leaving the documents with the following adult at:




[     ]     Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail addressed to the
            following officer of the defendant at:




[     ]     Publication: The defendant was served as follows: [describe briefly]




[     ]     State Law : The defendant was served pursuant to the laws of the State of                                                , as
            follows: [describe briefly]



     If serve was made by personal service, by residence service, or pursuant to state law, I further certify that I am, and at all times
during the service of process was, not less than 18 years of age and not a party to the matter concerning which service of process
was made.

            Under penalty of perjury, I declare that the foregoing is true and correct.




                  [Date]                                                                         [Signature]


    Print Name


    Business Address


    City                                          State                                    ZIP


CSD 2500A
